
LOKEN, Circuit Judge,
concurring.
I agree with the court that Missouri law governs this bankruptcy exemption issue, and that “public assistance benefits,” the operative term in Mo. Rev. Stat § 513.430.1(10)(a) that has not been clearly defined in Missouri law, is best defined as “those government benefits provided to the needy.” Applying that standard, I would reverse for the reasons of state law articulated by Chief Bankruptcy Judge Federman in In re Corbett, No. 13-60042, 2013 WL 1344717 (Bankr.W.D.Mo. Apr. 2, 2013): in my view, Judge Federman’s analysis of the recent amendment to the Missouri exemption statute applies to the exemption of any portions of both the federal earned income tax credit and the federal additional child tax credit that are property of the debtor’s estate as a matter of federal bankruptcy law. Accordingly, I concur in the result.
